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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                           )       Docket No. 1:21-cr-00386
                                                   )
                                                   )
              v.                                   )       ELECTRONICALLY FILED
                                                   )
                                                   )
PAULINE BAUER,                                     )       The Honorable Trevor N. McFadden
                                                   )
              Defendant.                           )

        MOTION TO CONTINUE STATUS CONFERENCE AND MOTION HEARING

       AND NOW, to-wit, comes Defendant, Pauline Bauer (hereinafter “Ms. Bauer”), by and

through her attorney, Komron Jon Maknoon, Esquire, and respectfully submits this Motion to

Continue Status Conference and Motion Hearing and, in support thereof, avers as follows:

       1.     On June 4, 2021, Ms. Bauer was indicted on alleged violations of 18 U.S.C. §§

1512(c)(2) and 2, 18 U.S.C. § 1752(a)(1), 18 U.S.C. § 1752(a)(2), 40 U.S.C. § 5104(e)(2)(D), and

40 U.S.C. § 5104(e)(2)(G) (See ECF Doc. No. 11).

       2.     A superseding indictment was issued on March 16, 2022, with the same alleged

violations, but without her codefendant (See ECF Doc. No. 116).

       3.     On May 20, 2022, undersigned counsel respectfully entered his appearance on

behalf of Ms. Bauer (See ECF Doc. No. 129).

       4.     Currently scheduled is a Status Conference and Motion Hearing on August 25,

2022, at 2:00 p.m.

       5.     On August 18, 2022, a dear friend and mentor unexpectedly passed after very

recently being diagnosed with cancer.
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       6.        Undersigned counsel is also very close with the entire family as he shares holidays

and family events.

       7.        The visitation and funeral/interment/family gathering will be held on August 24

and August 25, respectively. 1

       8.        At this time, undersigned counsel respectfully requests a brief continuance of the

status conference and motion hearing so he can attend the funeral events.

       9.        On August 21, 2022, the office of undersigned counsel received an e-mail from

Assistant United States Attorneys James Peterson who did not state any objections to the relief

sought within.

       WHEREFORE, Pauline Bauer, through undersigned counsel, respectfully requests that the

Motion to Continue Status Conference and Motion Hearing be granted.



                                                      Respectfully submitted,


                                                      s/ Komron Jon Maknoon
                                                      Komron Jon Maknoon, Esquire
                                                      PA I.D. No. 90466

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                                                      Attorney for Defendant, Pauline Bauer




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 https://www.legacy.com/us/obituaries/triblive-tribune-review/name/thomas-celli-
obituary?id=36281405
